Case 3:19-ap-03002      Doc 50    Filed 05/22/20 Entered 05/22/20 14:35:22   Desc Main
                                  Document     Page 1 of 3



                          UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF WEST VIRGINIA


  IN RE

  BLACKJEWEL, L.L.C.,                             CASE NO. 3:19-BK-30289
  BLACKJEWEL HOLDINGS, L.L.C.,                    CASE NO. 3:19-BK-30290
  REVELATION ENERGY HOLDINGS, LLC                 CASE NO. 3:19-BK-30291
  REVELATION ENERGY, LLC                          CASE NO. 3:19-BK-30292
  REVELATION MANAGEMENT CORP.,                    CASE NO. 3:19-BK-30293
  DOMINION COAL CORPORATION,                      CASE NO. 3:19-BK-30323
  HAROLD KEENE COAL CO. LLC,                      CASE NO. 3:19-BK-30324
  VANSANT COAL CORPORATION,                       CASE NO. 3:19-BK-30325
  LONE MOUNTAIN PROCESSING, LLC,                  CASE NO. 3:19-BK-30326
  POWELL MOUNTAIN ENERGY, LLC,                    CASE NO. 3:19-BK-30327
  CUMBERLAND RIVER COAL LLC,
                                                  CASE NO. 3:19-BK-30328
  Administratively Consolidated
                                                  CHAPTER 11
                      Debtors-in-Possession.
                                                  JUDGE FRANK W. VOLK
  IN RE

  DAVID ENGELBRECHT, on behalf of
  himself and all others similarly situated,
  JOSIAH WILLIAMSON, on behalf of
  themselves and all others similarly situated,
  GREGORY MEFFORD, oh behalf of
  themselves and all others similarly situated,

  Plaintiffs,
                                                  ADVERSARY PROCEEDING NO.
  vs.                                             3:19-ap-3002

  BLACKJEWEL, LLC,

  Defendant
Case 3:19-ap-03002    Doc 50   Filed 05/22/20 Entered 05/22/20 14:35:22   Desc Main
                               Document     Page 2 of 3



  IN RE

  SHAWN ABNER, Individually and on
  behalf of others similarly situated,
  JACOB HELTON, Individually and on
  behalf of others similarly situated,
  BILLY HATTON, Individually and on
  behalf of others similarly situated,

  Plaintiffs,
                                              ADVERSARY PROCEEDING NO.
  vs.                                         3:19-ap-3003

  BLACKJEWEL, L.L.C.,
  REVELATION ENERGY, LLC,
  LEXINGTON COAL CO., LLC,
  JEFF HOOPS, SR.,
  JEFFERS A. HOOPS, II

  Defendants

  IN RE

  WEST VIRGINIA DEPARTMENT OF
  ENVIRONMENTAL PROTECTION,

  Plaintiff,
                                              ADVERSARY PROCEEDING NO.
  vs.                                         3:20-ap-3002

  KATHERYN EMERY, Acting Director,
  Division of Water and Waste Management,
  West Virginia Department of Environmental
  Protection,
  HAROLD D. WARD, Director, Division of
  Mining and Reclamation, West Virginia
  Department of Environmental Protection,
  REVELATION ENERGY, LLC,

  Defendants
Case 3:19-ap-03002        Doc 50    Filed 05/22/20 Entered 05/22/20 14:35:22         Desc Main
                                    Document     Page 3 of 3



                                             ORDER

               For reasons appearing to the Court, it is ORDERED that the above-styled

matters -- being the entirety of the matters contemplated by the May 22, 2020, Order

entered by the Honorable Roger L. Gregory, Chief Judge of the United States Court of

Appeals for the Fourth Circuit, for ultimate referral to the Honorable Benjamin A. Kahn, United

States Bankruptcy Judge -- be reassigned by the Clerk to another Article III judicial officer in

this District for all further proceedings.

                                                   ENTER: May 22, 2020
